Case 2:03-cv-02843-BBD-dkv Document 21 Filed 08/04/05 Page 1 of 2 Page|D 38

IN 'I'HE U'NITED STA'I'ES DISTRIC'I` COURT F“..ED BY %"»-- D‘c'
FOR THE WESTERN DISTRICT OF TENNESSEE

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BENNIE L. coBB PLA - P§@GY€UM
- vs - No. 03-2843-DV wD[Yi:WHPHS
sHELBY couNTY DEFENDANT

ORDER GRANTING DEFENDANT'S SECOND MOTION IN LIMINE
TO EXCLUDE EVIDENCE REGARDING A. RAY MILLS'

MISUSE OF OFFICE AND SUBSEQUENT CONVICTION

Before the Court is Defendant Shelby County's Second Motion
in Limine asking the Court to enter an Order excluding any
evidence, testimony or argument by counsel or any witness
regarding the fact that A. Ray Mills misused his public office
and was indicted and convicted of a criminal offense which
occurred while he was serving as Chief Deputy Sheriff.

Having considered the motion and being fully advised in the
premises, the Court finds that good cause exists to grant the
motion.

The parties are therefore ORDERED not to mention or allude
to, and they are hereby directed not to present, any evidence,
testimony or argument at trial regarding the fact that A. Ray
Mills misused his public office and was indicted and convicted of
a criminal offense which occurred while he was serving as Chief

Deputy Sheriff.

SO ORDERED this 2 day of August, 2005.

 
    

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:03-CV-02843 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

